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 4                            IN THE UNITED STATES DISTRICT COURT
 5
                                WESTERN DISTRICT OF WASHINGTON
 6
                                               AT SEATTLE
 7
        AMAZON.COM, INC.,                                 Case No. 2:19-cv-1176
 8
                              Plaintiff,
 9                                                        NOTICE OF REMOVAL
                         v.
10
        PHILIP MOYER,
11
                              Defendant.
12

13
             PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441(a), and 1446,
14
      Defendant Philip Moyer (“Moyer” or “Defendant”) hereby removes the above-entitled action
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      from the Superior Court of the State of Washington for King County to this Court. Removal is
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      based on the following grounds:
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             1.      On July 26, 2019, Plaintiff Amazon.com, Inc. (“Amazon”) commenced this action
18
      in the Superior Court of the State of Washington for King County, entitled Amazon.com, Inc. v.
19
      Philip Moyer, Case No. 19-2-19848-6 SEA (“Complaint”), against Moyer, who recently resigned
20
      from his position at Amazon and accepted a position at Google, Inc (“Google”). Seeking to
21
      prevent Moyer from working at Google, Amazon’s Complaint alleges claims for breach of
22
      contract and injunctive relief, among others. A true and correct copy of the Complaint, with the
23
      accompanying attachments, is attached hereto as Exhibit 1.
24

25


                                                                               ANGELI LAW GROUP LLC
     NOTICE OF REMOVAL - 1                                                 121 S.W. Morrison Street, Suite 400
                                                                                      Portland, Oregon 97204
                                                                                  Telephone: (503) 954-2232
                                                                                    Facsimile: (503) 227-0880
                  Case 2:19-cv-01176-RSM Document 1 Filed 07/26/19 Page 2 of 4




 1           2.      This Notice of Removal is timely filed, pursuant to 28 U.S.C. § 1446(b), in that it

 2    is filed within 30 days of receipt of Plaintiff’s Complaint. No previous Notice of Removal has

 3    been filed or made with this Court for the relief sought.

 4           3.      This action is a civil action over which this Court has original diversity

 5    jurisdiction pursuant to 28 U.S.C. § 1332, and this matter may be removed to this Court under

 6    the provisions of 28 U.S.C. §§ 1441(a) and (b), in that the amount in controversy exceeds

 7    $75,000, exclusive of interest and costs and the action involves citizens of different States.

 8    I.     Diversity of Citizenship Exists.

 9           4.      Defendant is, and at all relevant times was, a citizen of the State of Pennsylvania.

10    Compl. ¶ 4; Declaration of Philip Moyer in Support of Notice of Removal (“Moyer Decl.”) ¶ 3.

11           5.      For diversity purposes, a corporation is “a citizen of any State by which it has

12    been incorporated and the State where it has its principal place of business.” 28 U.S.C. §

13    1332(c)(1).

14           6.      Amazon is now, and at all relevant times was, a Delaware corporation with its

15    principal place of business in the State of Washington. Compl. ¶ 3.

16           7.      Because there exists complete diversity of citizenship, this court has original

17    diversity jurisdiction pursuant to 28 U.S.C. § 1332, and this matter may be removed to this Court

18    under the provisions of 28 U.S.C. §§ 1441(a) and (b).

19    II.    The Amount in Controversy Exceeds $75,000.

20           8.      The Complaint seeks both specific injunctive relief and unspecified damages for

21    unjust enrichment. Compl. IV.A–B.

22           9.      “In actions seeking declaratory or injunctive relief, it is well established that the

23    amount in controversy is measured by the value of the object of the litigation.” Hunt v.

24    Washington State Apple Adver. Comm’n, 432 U.S. 333, 347 (1977). The Ninth Circuit applies

25    the “either viewpoint” rule for the purposes of calculating the amount in controversy. See
      Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 405 (9th Cir. 1996).
                                                                                  ANGELI LAW GROUP LLC
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 1           10.     When, as here, a complaint seeks a judgment relating to a non-compete clause, to

 2    determine the value of enforcing the non-compete clause from the employee’s point of view,

 3    courts will look to employee’s current salary from the new employer, because if the restrictive

 4    covenant clause is enforced, the employee stands to lose his ability to earn that salary. See, e.g.,

 5    Meyer v. Howmedica Osteonics Corp., No. 14CV2496 AJB NLS, 2015 WL 728631, at *4 (S.D.

 6    Cal. Feb. 19, 2015); Prutsman v. Rust Consulting, Inc., No. C12 6448 PJH, 2013 WL 1222707,

 7    at *1 (N.D.Cal. Mar.25, 2013); Rao v. Tyson Foods, Inc., No. 1:09 CV 303 AWI SMS, 2009 WL

 8    1657458, at *1 (E.D.Cal. June 12, 2009).
 9           11.     Defendant’s compensation at Google during the period that Amazon seeks to

10    prevent him from working at Google will exceed $75,000.00. Moyer Decl. ¶ 4.

11           12.     Accordingly, the amount in controversy exceeds the sum or value of $75,000,

12    exclusive of interest and costs.

13           13.     Venue is proper in this district pursuant to 28 U.S.C. § 1441(a), because this

14    district embraces the county in which the removed action has been pending.

15           14.     Defendant will promptly serve Plaintiff with this Notice of Removal and will

16    promptly file a copy of this Notice of Removal with the clerk of the state court in which the

17    action is pending, as required under 28 U.S.C. § 1446(d).

18

19           DATED this 26th day of July 2019

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                                                     Respectfully submitted,
21
                                                     ANGELI LAW GROUP LLC
22
                                                     s/ Tyler P. Francis
23                                                   TYLER P. FRANCIS, WSBA No. 53533
24                                                   Attorneys for Defendant Philp Moyer
25


                                                                                   ANGELI LAW GROUP LLC
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                Case 2:19-cv-01176-RSM Document 1 Filed 07/26/19 Page 4 of 4




                                      CERTIFICATE OF SERVICE
 1
             The undersigned declares as follows: on the 26th day of July 2019, I sent the foregoing
 2
      document, via email and First Class U.S. Mail, to counsel for Plaintiff at the following
 3
      address(es):
 4
                     Brad Fisher (bradfisher@dwt.com)
 5                   Zana Bugaighis (zanabugaighis@dwt.com)
                     Jordan Clark (jordanclark@dwt.com)
 6
                     Davis Wright Tremaine LLP
 7                   920 Fifth Ave, Suite 3200
                     Seattle, WA 98104-1610
 8
             I declare under penalty of perjury under the laws of the United States of America and the
 9
      state of Washington that the foregoing is true and correct.
10
             Signed at Portland, Oregon this 26th day of July 2019
11

12                                                  ANGELI LAW GROUP LLC
13                                                  s/ Tyler P. Francis
                                                    TYLER P. FRANCIS, WSBA No. 53533
14
                                                    Attorneys for Defendant Philp Moyer
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